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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                         Chapter 11

    In re:                                               Case No. 24-12480 (JTD)

    FRANCHISE GROUP, INC., et al., 1                     (Jointly Administered)

                   Debtors.                              Re: D.I. 151, 152, 654, 655, & 656

                                                         Hearing Date: Jan. 15, 2025 at 10:00 a.m. (ET)
                                                         Obj. Deadline: Jan. 8, 2024 at 4:00 p.m. (ET)
                                                         (extended for U.S. Trustee)


                     UNITED STATES TRUSTEE’S OMNIBUS OBJECTION TO
             (I) DISCLOSURE STATEMENT FOR THE JOINT CHAPTER 11 PLAN OF
                               FRANCHISE GROUP, INC. AND ITS
                                 AFFILIATED DEBTORS. AND
                      (II) DEBTORS MOTION FOR AN ORDER, INTER ALIA,
                 APPROVING SOLICITATION AND TABULATION PROCEDURES




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 The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM
Receivables, Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group
New Holdco, LLC (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC
(3068), Franchise Group Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486),
Franchise Group Newco Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American
Freight Holdings, LLC (8271), American Freight, LLC (5940), American Freight Management Company,
LLC (1215), Franchise Group Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814),
American Freight Franchising, LLC (1353), Home & Appliance Outlet, LLC (n/a), American Freight Outlet
Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise Group Intermediate B, LLC
(7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing LLC (9968), Franchise Group
Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group Intermediate BHF,
LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor Acquisition, LLC (3490), Vitamin Shoppe
Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC (6298),
Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin
Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP,
LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”,
LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising, LLC (9398),
WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489),
PSP Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco
SL, LLC (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court,
Suite J, Delaware, Ohio 43015.
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          Andrew R. Vara, the United States Trustee for Region Three (the “U.S. Trustee”), through

his undersigned counsel, hereby objects (this “Objection”) to: (i) approval of the disclosure

statement (the “Disclosure Statement”) [D.I. 151]; and (ii) the Debtors’ Motion for an Order (I)

Approving the Disclosure Statement; (II) Approving Solicitation and Voting Procedures, Including

(A) Fixing the Voting Record Date, (B) Approving the Solicitation Packages and Procedures for

Distribution, (C) Approving the Form of the Ballots and Solicitation Materials and Establishing

Procedures for Voting, and (D) Approving Procedures for Vote Tabulation; (III) Scheduling a

Confirmation Hearing and Establishing Notice and Objection Procedures; and (IV) Granting

Related Relief [D.I. 152] (the “Procedures Motion”), 2 and in support of this Objection respectfully

states:

                                 PRELIMINARY STATEMENT

          1.     The Court should deny interim approval of the Disclosure Statement for the

following reasons:

          (a)    The Disclosure Statement fails to provide adequate disclosures
                 regarding the release provisions of the Debtors’ proposed plan. The
                 Disclosure Statement fails to provide adequate information as to who will
                 receive such releases, what claims are being released, the value of such
                 claims, and the consideration received in exchange for the releases. The
                 Debtors fall far short of meeting their burden under section 1125 of the
                 Bankruptcy Code.

          (b)    The Disclosure Statement contains minimal information on treatment
                 for the voting classes.

          (c)    The Debtors’ proposed plan is patently unconfirmable and should not
                 be solicited using procedures that facilitate the plan’s defects. The Court
                 must deny approval of a disclosure statement if the related proposed plan is
                 not confirmable on its face. Here, the proposed plan is unconfirmable for at
                 least three reasons:


2
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
Disclosure Statement and the Procedures Motion, as applicable.


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               (i)     the plan’s third-party release provision seeks relief inconsistent with
                       Supreme Court precedent, the Bankruptcy Code, and applicable law
                       because it extracts non-consensual third-party releases from holders
                       of claims or interests that fail to check an opt-out box on a ballot or
                       engage counsel and lodge an objection—including those who, while
                       entitled to vote, have little information to evaluate their treatment,
                       and unimpaired creditors who must lodge an objection at their own
                       expense;

               (ii)    the plan’s injunction enforcing the exculpation and third-party
                       release is neither statutorily authorized nor warranted; and

               (iii)   the Debtors propose to treat the entire Plan as a settlement and to
                       have the settlement bind parties beyond those that are actively
                       settling their claims with the Debtors.

       2.      Accordingly, and for the reasons set forth in more detail herein, the U.S. Trustee

respectfully requests that the Court enter an order or orders: (a) denying approval of the Disclosure

Statement; and (b) denying the Procedures Motion.

                              JURISDICTION AND STANDING

       3.      This Court has jurisdiction to hear and determine the Procedures Motion, approval

of the Disclosure Statement and this Objection pursuant to: (i) 28 U.S.C. § 1334; (ii) applicable

order(s) of the United States District Court of the District of Delaware issued pursuant to 28 U.S.C.

§ 157(a); and (iii) 28 U.S.C. § 157(b)(2).

       4.      Pursuant to 28 U.S.C. § 586, the U.S. Trustee is charged with overseeing the

administration of chapter 11 cases filed in this judicial district. The duty is part of the U.S.

Trustee’s overarching responsibility to enforce the bankruptcy laws as written by Congress and

interpreted by the Courts. See Morgenstern v. Revco D.S., Inc. (In re Revco D.S., Inc.), 898 F.2d

498, 500 (6th Cir. 1990) (describing the U.S. Trustee as a “watchdog”).

       5.      The U.S. Trustee has standing to be heard on the Procedures Motion and the

Disclosure Statement pursuant to 11 U.S.C. § 307. See United States Trustee v. Columbia Gas

Sys., Inc. (In re Columbia Gas Sys., Inc.), 33 F.3d 294, 295-96 (3d Cir. 1994) (noting that U.S.

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Trustee has “public interest standing” under 11 U.S.C. § 307, which goes beyond mere pecuniary

interest).


                                           BACKGROUND

A.         The Chapter 11 Cases

           6.    On November 3, 2024, the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) each filed a voluntary petition for relief pursuant to chapter 11 of title

11 of the United States Code, 11 U.S.C. §§ 101 et seq., (the “Bankruptcy Code,” or “Code”), in

the United States Bankruptcy Court for the District of Delaware (this “Court”), thereby

commencing the above-captioned chapter 11 cases (the “Chapter 11 Cases”). The Debtors’

description of their business(es) and the alleged circumstances leading to these chapter 11 cases

are described in the Declaration of David Orlofsky in Support of Debtors’ Chapter 11 Petitions

and First Day Pleadings (the “First Day Declaration”). D.I. 15.

           7.    The Debtors continue to manage and operate their business as debtors in possession

pursuant to sections 1107 and 1108 of the Bankruptcy Code.

           8.    An official committee of unsecured creditors in the Chapter 11 Cases has been

appointed. D.I. 188.

           9.    As of the date hereof, no trustee or examiner has been appointed in the Chapter 11

Cases. 3

B.         The Restructuring Support Agreement and Disclosure Statement

           10.   On November 4, 2024, the Debtors filed the First Day Declaration which, among

other things, provided a copy of the Restructuring Support Agreement (the “RSA”) that forms the


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 The Ad Hoc Group of Freedom Lenders filed a motion on November 20, 2024, that among other things sought the
appointment of a chapter 11 trustee for the “Holdco” Debtors. The Court denied that motion by order entered
December 18, 2024. D.I. 460.

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basis of the Plan. The Debtors intend to consummate either a Sale Transaction or a Plan

Transaction through the Plan. D.I. 15 at p. 66-67. The RSA was entered into as of November 1,

2024, by and among the Debtors and the Consenting First Lien Lenders. Id. at 66-67.

       11.      On December 11, 2024, the Court entered an order authorizing the Debtors to obtain

postpetition financing (the “Final DIP Order”). D.I. 414. The Final DIP Order, among other

things, included certain revised milestones for confirming a chapter 11 plan that were required by

the RSA. D.I. 414-1 at p. 21. Those milestones seek approval of the Disclosure Statement and

Solicitation Materials by January 16, 2025. Id. The Disclosure Statement was filed on November

11, 2024, as required by the initial milestones, which was subsequently amended on January 3,

2025. [D.I. 654-656]. A Liquidation Analysis was filed on December 30, 2024. [D.I. 592].

C.     Specific Provisions of the Debtors’ Proposed Plan

       12.      On November 11, 2024, the Debtors filed the Disclosure Statement and the Plan.

D.I. 150. The Plan, as amended, D.I. 654 includes the following provisions relevant to this

Objection:

       i.       Third-Party Release Provisions

       13.      Article XII of the Plan, Section 12.3, provides as follows (the “Third-Party

Release[s]”):

       Notwithstanding anything contained in the Plan or the Restructuring Support
       Agreement to the contrary, and subject to the outcome of the Independent
       Investigation with respect to the Investigation Related Matters and the Freedom
       HoldCo Independent Investigation with respect to Freedom HoldCo Independent
       Investigation Related Matters and Claims and Causes of Action against any Holders
       of DIP Claims or Prepetition First Lien Loan Claims,, pursuant to section 1123(b)
       and any other applicable provisions of the Bankruptcy Code, effective as of the
       Effective Date, to the fullest extent permitted by applicable law, for good and
       valuable consideration provided by each of the Released Parties, the adequacy and
       sufficiency of which is hereby confirmed, and without limiting or otherwise
       modifying the scope of the Debtor Release provided by the Debtor Releasing
       Parties above, each Non-Debtor Releasing Party, on behalf of itself and any other

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Persons that might seek to claim under or through such Non-Debtor Releasing
Party, including any Affiliates, heirs, executors, administrators, successors, assigns,
managers, accountants, attorneys, Representatives, consultants, and agents, will be
deemed to have conclusively, absolutely, unconditionally, irrevocably, and forever
provided a full release to each of the Released Parties (and each such Released Party
so released shall be deemed forever released by the Non-Debtor Releasing Parties)
and their respective assets and properties (the “Third-Party Release”) from any and
all Claims, Interests, Causes of Action (including Avoidance Actions), and any
other debts, obligations, rights, suits, damages, actions, remedies, and liabilities
whatsoever, whether known or unknown, foreseen or unforeseen, matured or
unmatured, whether directly or derivatively held, existing as of the Effective Date
or thereafter arising, in law, at equity or otherwise, whether for tort, contract,
violations of federal or state statutory or common laws, or any other applicable
international, foreign, or domestic law, rule, statute, regulation, treaty, right, duty,
requirement or otherwise, based on or relating to, or in any manner arising from, in
whole or in part upon any act or omission, transaction, or other occurrence or
circumstances existing or taking place prior to or on the Effective Date arising
from or related in any way in whole or in part to any of the Debtors, including,
without limitation, (i) the Debtors’ in- or out-of-court restructuring efforts, the
decision to file the Chapter 11 Cases, any intercompany transactions, the Chapter
11 Cases, the Disclosure Statement, this Plan, the Restructuring Support
Agreement, the Definitive Documents, or the Sale Process; (ii) the subject matter
of, or the transactions or events giving rise to, any Claim or Equity Interest that is
treated in this Plan; (iii) the business or contractual arrangements between any
Debtor and any Released Parties; (iv) the negotiation, formulation or preparation of
the Restructuring Support Agreement, this Plan, the Disclosure Statement, the Plan
Supplement, the Definitive Documents, any Sale Documents, the DIP Documents
(including with respect to the DIP Loans), the Take-Back Debt Facility, the New
ABL Facility, the New Warrants, or any agreements, instruments or other
documents related to any of the foregoing; (v) the restructuring of Claims or Equity
Interests prior to or during the Chapter 11 Cases; (vi) the purchase, sale, or
rescission of the purchase or sale of any Equity Interest of the Debtors or the
Reorganized Debtors; and/or (vii) the confirmation or consummation of this Plan
or the solicitation of votes on this Plan that such Non-Debtor Releasing Party would
have been legally entitled to assert (whether individually or collectively) against
any of the Released Parties; provided, however, that the foregoing provisions of
this Third-Party Release shall not operate to waive or release: (i) any Causes of
Action arising from willful misconduct, actual fraud (except for Avoidance
Actions,which are subject to this Third-Party Release), or gross negligence of such
applicable Released Party; and/or (ii) the rights of such Non-Debtor Releasing Party
to enforce this Plan, any Sale Documents and the contracts, instruments, releases,
indentures, and other agreements or documents delivered under or in connection
with this Plan or any Sale Transaction or assumed pursuant to this Plan or any Sale
Transaction or Final Order of the Bankruptcy Court. The foregoing release shall be
effective as of the Effective Date, without further notice to or order of the
Bankruptcy Court, act or action under applicable law, regulation, order, or rule or

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       the vote, consent, authorization or approval of any Person, and the Confirmation
       Order will permanently enjoin the commencement or prosecution by any Person or
       Entity, whether directly, derivatively or otherwise, of any claims, obligations, suits,
       judgments, damages, demands, debts, rights, Causes of Action, or liabilities
       released pursuant to this Third-Party Release. Notwithstanding anything to the
       contrary in the foregoing, the releases set forth above do not release: (1) any
       obligations arising on or after the Effective Date of any party or Entity under the
       Plan, any Restructuring Transaction, or any document, instrument, or agreement
       (including those set forth in the Plan Supplement) executed to implement the Plan
       as set forth herein; (2) any act or omission, transaction, or other occurrence or
       circumstances related to Brian Kahn, Prophecy Asset Management LP, or any of
       their Affiliates; (3) any retained Causes of Action; or (4) any Avoidance Actions
       held by Debtors Freedom Receivables II, LLC and Freedom VCM Receivables,
       Inc. For the avoidance of doubt, none of the Debtors are Affiliates of Brian Kahn
       or Prophecy Asset Management LP.

       Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
       pursuant to Bankruptcy Rule 9019, of the Third-Party Release, which includes by
       reference each of the related provisions and definitions contained in this Plan, and,
       further, shall constitute the Bankruptcy Court’s finding that the Third-Party Release
       is: (1) consensual; (2) essential to the confirmation of the Plan; (3) given in
       exchange for the good and valuable consideration provided by the Released Parties,
       including the Released Parties’ contributions to facilitating the Restructuring
       Transactions and implementing the Plan; (4) a good faith settlement and
       compromise of the Claims released by the Third-Party Release; (e) in the best
       interests of the Debtors and their Estates; (5) fair, equitable, and reasonable; (6)
       given and made after due notice and opportunity for hearing; and (7) a bar to any
       of the Releasing Parties asserting any claim or Cause of Action of any kind
       whatsoever released pursuant to the Third-Party Release.

Art. XII. 12.3 (emphasis added).

       14.       The Plan provides the following definition for the term “Released Parties” at

Section 1.171:

       “Released Parties” means, collectively, and each solely in its capacity as such: (a)
       the Debtors, their Estates, and the Post-Effective Debtors; (b) the DIP Agent and
       the DIP Lenders; (c) the First Lien Credit Agreement Agent; (d) the Consenting
       First Lien Lenders; (e) the Creditors’ Committee and each of its members solely
       in their capacity as members of the Creditors’ Committee; and (f) each of such
       parties’ Related Parties; provided that no Person or Entity shall be a Released
       Party unless they are also a Releasing Party; provided further, for the avoidance
       of doubt, notwithstanding the foregoing, that Brian Kahn and Prophecy Asset
       Management LP and each of their Affiliates shall not be included in the definition
       of “Released Parties.” For the avoidance of doubt, none of the Debtors are Affiliates
       of Brian Kahn and/or Prophecy Asset Management LP.

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Art. I.A. 1.157 (emphasis added).

       15.        The Plan provides the following definition for the term “Releasing Parties”:

       “Releasing Parties” means, collectively, and each solely in its capacity as such:
       (a) the Debtors, their Estates, and Post-Effective Debtors; (b) the DIP Agent and
       the DIP Lenders; (c) the First Lien Credit Agreement Agent; (d) the Consenting
       First Lien Lenders; (e) the Creditors’ Committee (if any) and each of its members
       solely in their capacity as members of the Creditors’ Committee; (f) all Holders of
       Claims in Classes 3, 4, 5, 6-A, 6-B, 6-C, 6-D, 6-E, 7, 8, 10, and 11 that (i) vote to
       accept or reject the Plan and do not timely submit a release opt-out indicating
       such Holder’s decision not to participate in the releases set forth in Article XII,
       or (ii) do not vote to accept or reject the Plan, and either do not timely submit a
       release opt-out, or do not file an objection to the releases in Article XII of the
       Plan prior to the deadline to object to confirmation of the Plan; provided that the
       Consenting First Lien Lenders shall not opt out of the releases set forth in Article
       XII of the Plan; and (g) all unimpaired creditors of the Debtors who do not file an
       objection to the releases set forth in Article XII of the Plan on or before the
       deadline to object to confirmation of the Plan.

Art. I.A. 1.172 (emphasis added).

       16.        The Plan provides the following definition for the term “Related Parties”:

       “Related Parties” means collectively with respect to any Person, such Person’s
       predecessors, successors, assigns and present and former Affiliates (whether by
       operation of law or otherwise) and subsidiaries, and each of their respective current
       and former officers, directors, principals, employees, shareholders, members
       (including ex officio members and managing members), managers, managed
       accounts or funds, management companies, fund advisors, advisory or
       subcommittee board members, partners, agents, financial advisors, attorneys,
       accountants, investment bankers, investment advisors, consultants, representatives,
       and other professionals, in each case acting in such capacity at any time on or after
       the date of the Restructuring Support Agreement, and any Person claiming by or
       through any of them, including such Related Parties’ respective heirs, executors,
       estates, servants, and nominees.

Art. I.A 1.170.

       17.        The Plan includes an injunction in support of the Third-Party Release that provides

as follows (the “Plan Injunction”):

       Except as otherwise provided herein or for obligations issued pursuant hereto, all
       Persons or Entities that have held, hold, or may hold Claims or Interests that
       have been released, discharged, or are subject to Exculpation pursuant to Article
       XII, are permanently enjoined, from and after the Effective Date, from taking any

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       of the following actions against, as applicable, the Debtors, the Reorganized
       Debtors, the Released Parties, or the Exculpated Parties: (a) commencing or
       continuing in any manner any action or other proceeding of any kind on account of
       or in connection with or with respect to any such Claims or Interests; (b) enforcing,
       attaching, collecting, or recovering by any manner or means any judgment, award,
       decree, or order against the Debtors, the Reorganized Debtors, the Released Parties,
       or the Exculpated Parties on account of or in connection with or with respect to any
       such Claims or Interests; (c) creating, perfecting, or enforcing any encumbrance of
       any kind against the Debtors, the Reorganized Debtors, the Released Parties, or the
       Exculpated Parties or the property or Estates of the Debtors, the Reorganized
       Debtors, the Released Parties, or the Exculpated Parties on account of or in
       connection with or with respect to any such Claims or Interests; (d) asserting any
       right of setoff, subrogation, or recoupment of any kind against any obligation due
       from such Entities or against the property or Estates of the Debtors, the Reorganized
       Debtors, the Released Parties, or the Exculpated Parties on account of or in
       connection with or with respect to any such Claims or Interests unless such Holder
       has filed a motion requesting the right to perform such setoff on or before the
       Confirmation Date; and (e) commencing or continuing in any manner any action
       or other proceeding of any kind on account of or in connection with or with
       respect to any such Claims or Interests released, exculpated or settled pursuant
       to the Plan.

Art. XII. 12.6.

       18.        The Plan also contains a qualifier “Subject to the outcome of the Independent

Investigation with respect to the Investigation Related Matters and the Freedom HoldCo

Independent Investigation with respect to Freedom HoldCo Independent Investigation Related

Matters and Claims and Causes of Action against any Holders of DIP Claims or Prepetition First

Lien Loan Claims,” for the Releases by the Debtors and the Third-Party Release. Art. XII. 12.2

& 12.3. Independent Investigation is defined as “any investigation conducted by Petrillo Klien +

Boxer, as counsel to the Debtors.” Art. I.A. 1.110. Investigation Related Matters:

       means all matters related to any claims, rights and Causes of Action that the Estates
       may have against Mr. Brian Kahn, any current or former officer of the Debtors, or
       any other party arising from, or related to: (a) the Debtor’s sale of W.S. Badcock
       Corporation to Conn’s, Inc. in December 2023; (b) the take-private transaction
       completed by the Debtors in August 2023 pursuant to, among others, that certain
       Agreement and Plan of Merger, dated as of May 10, 2023, by and among Debtor
       Franchise Group, Inc. and the other parties thereto; (c) the acquisition by Debtor
       Freedom VCM Receivables, Inc. of Debtor Freedom Receivables II, LLC and any
       receivables transactions undertaken by each of the foregoing, including any
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        potential Avoidance Actions related thereto; (d) any transactions among the
        Debtors and B. Riley Principal Investments, LLC, B. Riley Financial, Inc., or any
        of its or their current and former Affiliates; (e) the Debtors’ historical transactions
        and relationship with Mr. Kahn or Prophecy Asset Management LP; and (f) any
        other matters that may become subject to the Independent Investigation in the
        future.

Art. I.A 1.116.      The Freedom HoldCo Independent Investigation and Freedom HoldCo

Independent Investigation Related matters are defined as, “means any investigation conducted by

the Freedom HoldCo Independent Director” and “all matters related to any claims, rights and

Causes of Action that may be held by or against the Freedom HoldCo Debtors, and all other matters

that may become subject to the Freedom HoldCo Independent Investigation.” Art. I.A. 1.98 &

1.99.

        19.    The Plan requires the majority of creditors to affirmatively opt out of the Third-

Party Release to avoid having it be imposed upon them, notwithstanding the fact that the current

Disclosure Statement provides little information as to their treatment under the Plan. See D.I. 655

at p. 34-43) (providing for unsecured creditors “0%[FN] [FN] The estimated recovery for Class 6[]

General Unsecured Claims may be greater than 0% depending on the outcome of the Sale Process

and any negotiations among major constituent groups.”). No recovery is anticipated for Class 10

Subordinated Claims.      Id. at p. 42-43.      Class 10 is still identified as Entitled to vote,

notwithstanding no recovery being projected. Id.

        ii.    Plan Settlement

        20.    The Plan contains the following at Article VII, Section 7.23, titled “Comprehensive

Settlement of Claims and Controversies; Termination of Subordination Rights:”

        (a) Pursuant to Bankruptcy Rule 9019 and section 1123 of the Bankruptcy Code
            and in consideration for the distributions and other benefits provided under this
            Plan, the provisions of this Plan will constitute a good faith compromise and
            settlement of all Claims or controversies relating to the rights that a Holder
            of a Claim or Interest may have with respect to any Allowed Claim or Allowed
            Interest or any distribution to be made pursuant to this Plan on account of any
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           Allowed Claim or Allowed Interest and this Plan shall be deemed a motion to
           approve the good-faith compromise and settlement of all Claims, Interests,
           Causes of Action, and controversies pursuant to Bankruptcy Rule 9019 and
           section 1123 of the Bankruptcy Code. The entry of the Confirmation Order
           will constitute the Bankruptcy Court’s approval, as of the Effective Date, of
           the compromise or settlement of all such Claims or controversies and the
           Bankruptcy Court’s finding that all such compromises or settlements are: (i)
           in the best interest of the Debtors, the Reorganized Debtors, and their
           respective Estates and property, and of Holders of Claims or Interests; and
           (ii) fair, equitable and reasonable.
       (b) Except as provided herein, the classification and manner of satisfying all Claims
           and Interests and the respective distributions and treatments under the Plan take
           into account or conform to the relative priority and rights of the Claims and
           Interests in each Class in connection with any contractual, legal and equitable
           subordination rights relating thereto whether arising under general principles of
           equitable subordination, section 510(b) or 510(c) of the Bankruptcy Code or
           otherwise, and any and all such rights are settled, compromised and released
           pursuant to the Plan. The Confirmation Order shall permanently enjoin,
           effective as of the Effective Date, all Persons and Entities from enforcing or
           attempting to enforce any such contractual, legal and equitable rights satisfied,
           compromised and settled pursuant to this Plan.

Art. VII 7.23 (emphasis added).

       21.     While the Debtors attach the RSA to the Disclosure Statement, the Debtors do not

specifically identify any settlements in the Disclosure Statement. Instead, the Plan section on

“Risk Factors” uses the same broad language seeking to cast the entire Plan as a settlement,

notwithstanding that only the Debtors and the Consenting First Lien Lenders are parties to the

RSA. See D.I. 655 Art. IX.B.iv; D.I.655-1 at Preamble (i) & (ii).

D.     The Procedures Motion

       22.     On November 11, 2024, the Debtors filed their Procedures Motion.

       23.     In the Procedures Motion, the Debtors seek approval of their Ballots for eight

classes and twelve distinct creditor classes in total (Class 6 also having five sub-classes), which

will be used for voting and to impose an “opt-out” third-party release election upon creditors.

Procedures Mot. ¶¶ 15-18. Those Ballots have been revised subject to the Amended Plan and



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Disclosure Statement, and to incorporate certain informal comments from the U.S. Trustee. See

[D.I. 657].


                                     OMNIBUS OBJECTION

I.       THE DISCLOSURE STATEMENT LACKS ADEQUATE INFORMATION
         REGARDING THE THIRD-PARTY RELEASE PROVISIONS.

         24.    The disclosure statement requirement of Bankruptcy Code section 1125 is “crucial

to the effective functioning of the federal bankruptcy system” and, consequently, “the importance

of full and honest disclosure cannot be overstated.” Ryan Operations G.P. v. Santiam-Midwest

Lumber Co., 81 F.3d 355, 362 (3d Cir. 1996) (citing Oneida Motor Freight, Inc. v. United Jersey

Bank (In re Oneida Motor Freight, Inc.), 848 F.2d 414, 417-18 (3d Cir. 1988)). “Adequate

information” under section 1125 is “determined by the facts and circumstances of each case.” See

Oneida, 848 F.2d at 417 (citing H.R. Rep. No. 595, 97th Cong., 2d Sess. 266 (1977)). The

“adequate information” requirement is designed to help creditors in their negotiations with debtors

over the plan. See Century Glove, Inc. v. First Am. Bank, 860 F.2d 94, 100 (3d Cir. 1988). Further,

section 1129(a)(2) of the Bankruptcy Code conditions confirmation upon compliance with

applicable Code provisions. The adequate disclosure requirement of section 1125 is one of those

provisions. See 11 U.S.C. § 1129(a)(2); In re PWS Holding Corp., 228 F.3d 224, 248 (3d Cir.

2000).

         25.    The Bankruptcy Code defines “adequate information” as:

                information of a kind, and in sufficient detail, as far as is reasonably
                practicable in light of the nature and history of the debtor and the
                condition of the debtor’s books and records, including a discussion
                of the potential material Federal tax consequences of the plan to the
                debtor, any successor to the debtor, and a hypothetical investor
                typical of the holders of claims or interests in the case, that would
                enable such a hypothetical reasonable investor of the relevant class
                to make an informed judgment about the plan[.]


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See 11 U.S.C. § 1125(a)(1) (emphasis added); see also Momentum Mfg. Corp. v. Employee

Creditors Comm. (In re Momentum Mfg. Corp.), 25 F.3d 1132, 1136 (2d Cir. 1994); Kunica v. St.

Jean Fin., Inc., 233 B.R. 46, 54 (S.D.N.Y. 1999).

       26.     To be approved, a disclosure statement must include sufficient information to

apprise creditors of the risks and financial consequences of the proposed plan. See In re McLean

Indus., 87 B.R. 830, 834 (Bankr. S.D.N.Y. 1987) (“substantial financial information with respect

to the ramifications of any proposed plan will have to be provided to, and digested by, the creditors

and other parties in interest in order to arrive at an informed decision concerning the acceptance

or rejection of a proposed plan”). Although the adequacy of the disclosure is determined on a

case-by-case basis, the disclosure must “contain simple and clear language delineating the

consequences of the proposed plan on [creditors’] claims and the possible [Bankruptcy Code]

alternatives so that they can intelligently accept or reject the plan.” In re Copy Crafters Quickprint,

Inc., 92 B.R. 973, 981 (Bankr. N.D.N.Y. 1988).

       27.     Section 1125 of the Bankruptcy Code is geared towards more disclosure rather than

less. See In re Crowthers McCall Pattern, Inc., 120 B.R. 279, 300 (Bankr. S.D.N.Y. 1990). The

“adequate information” requirement merely establishes a floor, and not a ceiling for disclosure to

voting creditors. In re Adelphia Commc’ns Corp., 352 B.R. 592, 596 (Bankr. S.D.N.Y. 2006)

(citing Century Glove, 860 F.2d at 100).

       28.     Once the “adequate disclosure” floor is satisfied, additional information can go into

a disclosure statement if the information is accurate, and its inclusion is not misleading. See id.

The purpose of the disclosure statement is to give creditors enough information so that they can

make an informed choice of whether to approve or reject the debtor’s plan. In re Duratech Indus.,

241 B.R. 291, 298 (Bankr. E.D.N.Y.), aff’d, 241 B.R. 283 (E.D.N.Y. 1999). The disclosure



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statement must inform the average creditor what it is going to get and when, and what

contingencies there are that might intervene. In re Ferretti, 128 B.R. 16, 19 (Bankr. D.N.H. 1991).

        29.       Applied here, the Disclosure Statement does not provide sufficient disclosures

appropriate to the circumstances of these Chapter 11 Cases. The Disclosure Statement lacks

meaningful information regarding creditors’ treatment under the Plan, as 0% recoveries are

identified with a footnotes as to wide circumstances that may improve such treatment. D.I. 655. .

        30.       In addition, the Debtors fail to disclose that they are giving two sets of releases

benefitting the same Released Parties. The Debtors are both a Released Party and a Releasing

Party. Therefore, the Plan provides that the Debtors will release the Released Parties pursuant to

both Article XII. Section 12.2 (Releases by the Debtors) and Article XII Section 12.3 (Third-Party

Release). The Debtors fail to explain which of the two releases will control if there is a conflict,

beyond noting in the Disclosure Statement, that:

                  without limiting or otherwise modifying the scope of the Debtor
                  Release provided by the Debtor Releasing Parties above, each Non-
                  Debtor Releasing Party, on behalf of itself and any other Persons
                  that might seek to claim under or through such Non-Debtor
                  Releasing Party, including any Affiliates, heirs, executors,
                  administrators, successors, assigns, managers, accountants,
                  attorneys, Representatives, consultants, and agents, will be deemed
                  to have conclusively, absolutely, unconditionally, irrevocably, and
                  forever provided a full release to each of the Released Parties.

Art. XII.B.iii.

        31.       Moreover, the Disclosure Statement does not adequately disclose: (a) why the

Debtors will be releasing the Released Parties (whether under the Debtor release or the Third-Party

Release); (b) the nature and value of the claims the Debtors are releasing; or (c) what (if anything)

the Debtors are receiving as consideration for such releases, just conclusory statements that such

are being given for “good and valuable consideration.” See id.



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       32.     Also, the Independent Investigation, Investigation Related Matters, the Freedom

HoldCo Independent Investigation with respect to Freedom HoldCo Independent Investigation

Related Matters and Claims and Causes of Action qualifiers built into the Plan means that

subsequent developments could meaningfully impact the rights parties have against Released

Parties. Creditors will be voting on a plan without understanding whether a blanket release on

contentious issues will be included as part of the Plan’s relief, or what (if any) consideration is

being provided by the beneficiaries of the releases in exchange for that broad release.

       33.     In summary, the Disclosure Statement fails to provide adequate information as to

what treatment creditors will receive, the Debtors’ status as a recipient of third-party releases and

debtor releases, what claims are being released, the value of such claims, and the consideration

received in exchange for the releases. Because the Disclosure Statement fails to provide adequate

information as to numerous, significant issues, the Court should not approve the Disclosure

Statement as having adequate information.

II.    THE COURT MUST DENY APPROVAL OF THE DISCLOSURE STATEMENT
       BECAUSE THE PLAN IS PATENTLY UNCONFIRMABLE.

       34.     If the proposed plan is patently unconfirmable on its face, the bankruptcy court

must deny the application to approve the disclosure statement. See generally In re Quigley Co.,

377 B.R. 110, 115 (Bankr. S.D.N.Y. 2007) (citing In re Beyond.com Corp., 289 B.R. 138, 140

(Bankr. N.D. Cal. 2003) (collecting cases); In re 266 Washington Assocs., 141 B.R. 275, 288

(Bankr. E.D.N.Y.) aff’d, 147 B.R. 827 (E.D.N.Y. 1992); In re Filex, Inc., 116 B.R. 37, 41 (Bankr.

S.D.N.Y. 1990)).

       35.     Moreover, the Court should not approve solicitation procedures that facilitate the

Plan’s defects, and it would be a waste of estate resources for the Debtors to solicit votes on a Plan




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that is patently unconfirmable (especially where, as here, the Disclosure Statement is so deficient

in information).

       36.       Here, the Court must deny approval of the Disclosure Statement because the Plan

is patently unconfirmable on at least three separate and independent bases. First, the Plan is

unconfirmable because it proposes non-consensual Third-Party Releases that are not authorized

under the Bankruptcy Code. Second, the Plan’s injunction enforcing the exculpation and third-

party release is neither statutorily authorized nor warranted. Third, the Plan seeks to treat itself as

a comprehensive settlement of all claims and interests without such parties having actively settled

their claims.

       A. The Plan is Not Confirmable Because It Proposes Non-Consensual Third-Party
          Releases That are Not Authorized Under the Bankruptcy Code.

       i.        State Contract Law Applies, Not Federal Law


       37.       The Supreme Court has definitively held that non-consensual third-party releases

are not authorized under the Bankruptcy Code. Harrington v. Purdue Pharma L.P., 603 U.S. __,

144 S. Ct. 2071, 2082-88 (2024). The Supreme Court in Purdue did not address whether

consensual non-debtor releases can be included in a chapter 11 plan and confirmation order.

       38.       Whether parties have reached an agreement—including an agreement to release

one’s claims against another (i.e., not to sue)—is governed by state law. The only exception is if

there is federal law that preempts applicable state contract law in some specific context. See, e.g.,

Shady Grove Orthopedic Assocs. v. Allstate Ins. Co., 559 U.S. 393, 416 (2010) (plurality) (“For

where neither the Constitution, a treaty, nor a statute provides the rule of decision or authorizes a

federal court to supply one, ‘state law must govern because there can be no other law.’”) (quoting

Hanna v. Plumer, 380 U.S. 460, 471-72 (1965)).



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       39.     No such exception applies here. There is no federal law generally governing when

or whether the non-debtor Releasing Parties have agreed to release the non-debtor Released

Parties. No Bankruptcy Code provision addresses how to determine whether one non-debtor has

agreed to extinguish its direct claims against another non-debtor.        And no Code provision

authorizes courts, as part of an order confirming a chapter 11 plan or otherwise, to “deem” a non-

debtor to have consented to an agreement to release claims against other non-debtors where

consent would not otherwise be found to exist as a matter of state law. Nor does 11 U.S.C. § 105(a)

itself confer any power to override state law. Rather, section 105(a) “serves only to carry out

authorities expressly conferred elsewhere in the code.” Purdue, 144 S. Ct. at 2082 n.2 (quotation

marks omitted). Bankruptcy courts cannot “create substantive rights that are otherwise unavailable

under applicable law,” nor do they possess a “roving commission to do equity.” In re Dairy Mart

Convenience Stores, Inc., 351 F.3d 86, 92 (2d Cir. 2003) (quotation omitted). Accordingly, any

authority to include third-party releases in a plan must derive from some other source of law. Thus,

the Bankruptcy Code does not change the state-law definition of consent as applicable to claims

among non-debtor parties.

       40.     As courts have recognized, because the Bankruptcy Code does not govern

relationships between claim holders and non-debtor third-parties, state-law contract principles

serve as controlling authority when considering whether a release is consensual. See, e.g.,

Patterson v. Mahwah Bergen Ret. Grp., Inc., 636 B.R. 641, 684-85 (E.D. Va. 2022) (describing

bankruptcy courts in the District of New Jersey as “look[ing] to the principles of contract law

rather than the bankruptcy court’s confirmation authority to conclude that the validity of the

releases requires affirmative consent”); In re Smallhold, Inc., No. 24-10267, 2024 WL 4296938,

at *11 (Bankr. D. Del. Sept. 25, 2024) (requiring “some sort of affirmative expression of consent



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that would be sufficient as a matter of contract law”); In re SunEdison, Inc., 576 B.R. 453, 458

(Bankr. S.D.N.Y. 2017) (“Courts generally apply contract principles in deciding whether a creditor

consents to a third-party release.”); In re Arrowmill Dev. Corp., 211 B.R. 497, 506 (Bankr. D.N.J.

1997) (explaining that a third-party release “is no different from any other settlement or contract”

and thus “the validity of the release . . . hinge[s] upon principles of straight contract law or quasi-

contract law rather than upon the bankruptcy court’s confirmation order”) (internal quotation

marks omitted) (alterations in original). As one court recently held, because “nothing in the

bankruptcy code contemplates (much less authorizes it)’ … any proposal for a non-debtor release

is an ancillary offer that becomes a contract upon acceptance and consent.” In re Tonawanda Coke

Corp., No. BK 18-12156 CLB, 2024 WL 4024385, at *2 (Bankr. W.D.N.Y. Aug. 27, 2024)

(quoting Purdue, 144 S. Ct. at 2086). Accordingly, “any such consensual agreement would be

governed by state law.” Id.

       41.     Here, the Debtors do not meet the state-law burden of establishing that the

Releasing Parties will affirmatively agree to release their property rights in a manner sufficient to

demonstrate consent under state law.

       ii.     Under State Law, Silence Is Not Acceptance

       42.     The “general rule of contracts is that silence cannot manifest consent.” Patterson,

636 B.R. at 686; see also, e.g., McGurn v. Bell Microproducts, Inc., 284 F.3d 86, 90 (1st Cir. 2002)

(recognizing “general rule” that “silence in response to an offer . . . does not constitute acceptance

of the offer”). Moreover, “[o]rdinarily an offeror does not have power to cause the silence of the

offeree to operate as acceptance.” RESTATEMENT (SECOND) OF CONTRACTS § 69 cmt. a

(1981); accord 1 CORBIN ON CONTRACTS § 3.19 (2018); 4 WILLISTON ON CONTRACTS

§ 6:67 (4th ed.); Reichert v. Rapid Investments, Inc., 56 F.4th 1220, 1227 (9th Cir. 2022) (“[T]he



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offeror cannot prescribe conditions so as to turn silence into acceptance.”). Instead, under state

law, an agreement to release claims—like any other contract—generally requires a manifestation

of assent to that agreement. See, e.g., RESTATEMENT (SECOND) OF CONTRACTS § 17(1)

(“[T]he formation of a contract requires a bargain in which there is manifestation of mutual assent

to the exchange and a consideration.”). Consent cannot be imputed or “deemed” based on a party’s

failure to object—rather, consent must be affirmatively shown to exist.                See, e.g., id.;

RESTATEMENT (SECOND) OF CONTRACTS § 69 cmt. a.

        43.    There are only very limited exceptions to that principle. “[T]he exceptional cases

where silence is acceptance fall into two main classes: those where the offeree silently takes

offered benefits, and those where one party relies on the other party’s manifestation of intention

that silence may operate as acceptance. Even in those cases the contract may be unenforceable

under the Statute of Frauds.” RESTATEMENT (SECOND) OF CONTRACTS § 69 cmt. a (1981).

        44.    But absent such extraordinary circumstances, “[t]he mere receipt of an unsolicited

offer does not impair the offeree’s freedom of action or inaction or impose on him any duty to

speak.” RESTATEMENT (SECOND) OF CONTRACTS § 69 cmt. a (1981). And “[t]he mere

fact that an offeror states that silence will constitute acceptance does not deprive the offeree of his

privilege to remain silent without accepting.” Id. § 69, cmt. c (1981); see also Patterson, 636 B.R.

at 686 (explaining how contract law does not support deeming consent based upon a failure to opt

out).

        45.    Delaware common law, as a point of reference, is in accord. See, e.g., Hornberger

Mgmt. Co. v. Haws & Tingle Gen. Contractors, Inc., 768 A.2d 983, 991 (Del. Super. Ct. 2000)

(quoting RESTATEMENT (SECOND) OF CONTRACTS § 69 (1981)). Absent limited

exceptions not triggered here, silence and inaction are not assent to an offer. See Urban Green



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Techs., LLC v. Sustainable Strategies 2050 LLC, No. N136-12-115, 2017 WL 527565, at *3 (Del.

Super. Ct. Feb. 8, 2017); see also Patterson, 636 B.R. at 686 (contract law does not support consent

by failure to opt out). For the reasons discussed below, none of those exceptions apply here.

        iii.    Opt Outs Cannot Be Imposed Based on a Procedural Default Theory

        46.     Applicable state contract law cannot be disregarded on a default theory, previously

applied by some courts, under which creditors who remain silent are held to have forfeited their

rights against non-debtors if they received notice of the non-debtor release but failed to object, just

as they would forfeit their right to object to a debtor’s plan if they failed timely to do so. See, e.g.,

In re Arsenal Intermediate Holdings, LLC, No. 23-10097, 2023 WL 2655592 (Bankr. D. Del. Mar.

27, 2023), abrogated by In re Smallhold, Inc., 2024 WL 4296938, at *8-*11; In re DBSD North

America, Inc., 419 B.R. 179, 218-19 (Bankr. S.D.N.Y. 2009), aff’d on other grounds, 2010 WL

1223109 (S.D.N.Y. Mar. 24, 2010), rev’d in part and aff’d in part, 634 F.3d 79 (2d Cir. 2011).

These courts had reasoned that so long as the creditors received notice of a proposed non-debtor

release and were informed of the consequences if they did not opt out or object to that release,

there is no unfairness or deprivation of due process from binding them to the release. Cf.

Smallhold, 2024 WL 4296938, at *1 (describing this reasoning as having treated a mere “failure

to opt out” as “allow[ing] entry of the third-party release to be entered by default”).

        47.     After Purdue, however, it is now clear that imposition of a nonconsensual non-

debtor release is not available relief through a debtor’s chapter 11 plan. See Purdue, 144 S. Ct. at

2082-88 & n.1; see also Smallhold, Inc., 2024 WL 4296938, at *2 (“After Purdue Pharma, a third-

party release is no longer an ordinary plan provision that can properly be entered by ‘default’ in

the absence of an objection.”). It is therefore “no longer appropriate to require creditors to object




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or else be subject to (or be deemed to ‘consent’ to) such a third-party release.” Smallhold, 2024

WL 4296938, at *10.

       48.     As explained in Smallhold, the Supreme Court’s Purdue decision rejected a

fundamental premise of the decisions which had imputed consent for non-debtor releases on a

procedural default theory—that a bankruptcy proceeding legally could lead to the destruction of

creditors’ rights against non-debtors, so they had best pay attention lest they risk losing those

rights. Smallhold, 2024 WL 4296938, at *1-2; see also id. at *10 (“The possibility that a plan

might be confirmed that provided a nonconsensual release was sufficient to impose on the creditor

the duty to speak up if it objected to what the debtor was proposing.”). The courts that relied on

this procedural-default theory had reasoned that non-debtor releases were no different from any

other plan provision to which creditors had to object or risk forfeiture of their rights, because pre¬-

Purdue a chapter 11 plan could permissibly include nonconsensual, non-debtor releases under

certain circumstances. Id. at *10. As the Smallhold court explained, however, under the default

theory, a plan’s opt-out provision functions not as a method to secure consent, but rather serves as

“an administrative shortcut to relieve those creditors of the burden of having to file a formal plan

objection.” Id. at *2; see also id. at *9 (“In this context, the word ‘consent’ is used in a shorthand,

and somewhat imprecise, way. It may be more accurate to say that the counterparty forfeits its

objection on account of its default.”).

       49.     But “[u]nder established principles,” courts may enter relief against a party who

procedurally defaults by not responding “only after satisfying themselves that the relief the

plaintiff seeks is relief that is at least potentially available to the plaintiff in litigation” that is

actually contested. Id. at *2; see also id. at *13 (“[T]he obligation of a party served with pleadings

to appear and protect its rights is limited to those circumstances in which it would be appropriate



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for a court to enter a default judgment if a litigant failed to do so.”). “[After Purdue], that is no

longer the case in the context of a third-party release.” Id. at *13. A third-party release is not “an

ordinary plan provision that can properly be entered by ‘default’ in the absence of an objection.”

Id. “It is unlike the listed cure amount where one can properly impose on a creditor the duty to

object, and in the absence of such an objection bind the creditor to the judgment.” Id.       That is

because, unlike for a creditor’s claims against the debtor, the Bankruptcy Code affords no

affirmative authority to order a release of claims against third parties. The Smallhold court

provided an illustration that makes obvious why, even with clear notice, a mere failure to object

or opt out of a proposed release does not constitute the manifestation of assent necessary to

constitute consent under state law:

               Consider, for example, a plan of reorganization that provided that
               each creditor who failed to check an “opt out” box on a ballot was
               required to make a $100 contribution to the college education fund
               for the children of the CEO of the debtor. Just as in the case of Party
               A’s letter to Party B, no court would find that in these circumstances,
               a creditor that never returned a ballot could properly be subject to a
               legally enforceable obligation to make the $100 contribution.

Id. at *2 (footnote omitted). None of the cases that allow imposing of a non-debtor release based

merely on a creditor’s failure to object or opt out “provide[] any limiting principle that would

distinguish the third-party release from the college education fund plan. And after Purdue Pharma,

there is none.” Id.

       50.     Because Purdue establishes that a nonconsensual third-party release is “per se

unlawful,” it follows that a third-party release “is not the kind of provision that would be imposed

on a creditor on account of that creditor’s default.” Id. at *2. Rather, absent an affirmative showing

of consent, a court lacks any power to approve the non-debtor release. And besides the now-

discredited default theory, there is “no other justification for treating the failure to ‘opt-out’ as



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‘consent’ to the release [that] can withstand analytic scrutiny.” Id. Because a chapter 11 plan

cannot permissibly impose non-debtor releases without the affirmative consent of the releasing

parties, a release cannot be imposed based on their mere failure to respond regarding the non-

debtor release. Rather, an “affirmative expression of consent that would be sufficient as a matter

of contract law” is required. Id. at *11 (emphasis added).

       iv.     Failing to Opt Out or Object Does Not Provide the Required Affirmative
               Consent.

       51.     The Debtors propose that the Third-Party Releases in the Plan, which benefit

numerous non-debtors that are Released Parties, bind all holders of claims or equity interests who

are sent a ballot or non-voting opt-out form and do not timely elect to opt out of the releases

provided by the Plan in accordance with the Solicitation Procedures.

       52.     An affirmative agreement — something more than the failure to opt out or object

— is required for a non-debtor release to be consensual. See In re Tonawanda Coke Corp., 2024

WL 4024385, at *2; Patterson, 636 B.R. at 686. Failing to “opt out” of, or object to, an offer is not

a manifestation of consent unless one of the exceptions to the rule that silence is not consent

applies, such as conduct by the offeree that manifests an intention that silence means acceptance

or taking the offered benefits. RESTATEMENT (SECOND) OF CONTRACTS § 69 cmt. a

(1981). For example, the Patterson court, in applying black-letter contract principles to opt-out

releases in a chapter 11 plan, found that contract law does not support consent by failure to opt-

out. Patterson, 636 B.R. at 686. “Whether the Court labels these ‘nonconsensual’ or based on

‘implied consent’ matters not, because in either case there is a lack of sufficient affirmation of

consent.” Id. at 688.

       53.     The Ninth Circuit’s decision in Norcia v. Samsung Telecomms. Am., LLC, 845 F.3d

1279 (9th Cir. 2017), cited with approval by the Third Circuit in Noble v. Samsung Elec. Am., Inc.,

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682 F. App’x 113, 117-18 (3d Cir. 2017), illustrates the point. In Norcia, a consumer bought a

Samsung phone from a Verizon Wireless store and signed the Verizon Wireless Customer

Agreement. Norcia, 845 F.3d at 1282. Among the contents of the phone’s box was a Samsung

“Product Safety & Warranty Information” brochure that contained an arbitration provision, which

“stated that purchasers could opt out of the arbitration agreement by providing notice to Samsung

within 30 calendar days of purchase, either through email or by calling a toll-free telephone

number.” Id. It also stated that opting out would not affect the warranty coverage. See id. The

customer did not take any steps to opt out. See id. When the customer later sued Samsung, Samsung

argued that the arbitration provision applied. See id. at 1282-83.

       54.     As an initial matter, the Norcia court rejected the argument that the customer agreed

to the arbitration provision by signing his contract with Verizon: “The Customer Agreement is an

agreement between Verizon Wireless and its customer. Samsung is not a signatory.” 845 F.3d at

1290. That is even more true in the context of a chapter 11 plan. Not only are the non-debtor

Released Parties not signatories to it, a chapter 11 plan is a creature of the Bankruptcy Code

specifically for determining how the debtor will pay its creditors, not for resolving claims between

non-debtors. As the Ninth Circuit has explained, “[w]hen a bankruptcy court discharges the debtor,

it does so by operation of the bankruptcy laws, not by consent of the creditors. … [T]he payment

which effects a discharge is not consideration for any promise by the creditors, much less for one

to release non-party obligators.” Blixseth v. Credit Suisse, 961 F.3d 1074, 1085 (9th Cir. 2020)

(quotation marks omitted).

       55.     The Ninth Circuit in Norcia further held that the customer’s failure to opt out did

not constitute consent to arbitrate. Unsurprisingly — because there was no applicable federal law

— the court applied the “general rule,” applicable under California law, that “silence or inaction



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does not constitute acceptance of an offer.” 845 F.3d at 1284 (quotation marks omitted); accord

Southern Cal. Acoustics Co. v. C.V. Holder, Inc., 456 P.2d 975, 978 (Cal. 1969). The customer did

not agree to arbitrate because he did not “sign the brochure or otherwise act in a manner that would

show his intent to use his silence, or failure to opt out, as a means of accepting the arbitration

agreement.” Norcia, 845 F.3d at 1285 (quotation marks omitted). This was true, even though the

customer did take action to accept the offered contract from Verizon Wireless. “Samsung’s offer

to arbitrate all disputes with [the customer] cannot be turned into an agreement because the person

to whom it is made or sent makes no reply, even though the offer states that silence will be taken

as consent, unless an exception to this general rule applies.” Id. at 1286 (quotation marks and

citation omitted).

       56.     The Ninth Circuit explained that there are two exceptions to this rule—when the

offeree has a duty to respond or when the offeree retains the offered benefits—but held neither

exception applied. See Norcia, 845 F.3d at 1284-85. There was no state law imposing a duty on

the customer to act in response to the offer, the parties did not have a prior course of dealing that

might impose such a duty, and the customer did not retain any benefits by failing to act given that

the warranty applied whether or not he opted out of the arbitration provision. See id. at 1286.

       57.     Here, too, the debtors’ creditors have not signed an agreement to release the non-

debtor releasees nor acted in any other manner to suggest that their silence manifests an intention

to accept an offer to release the non-debtors.

       v.      Voting to Accept a Plan Without Opting Out Is Not Consent to Release Non-
               Debtors

       58.     Through the definition of “Releasing Parties” in the Plan, the Debtors propose that

the non-debtor releases in the Plan bind all parties who vote to accept or reject the Plan but do not

opt out.

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       59.     First, voting for a plan without checking an opt-out box does not constitute the

affirmative consent necessary to reflect acceptance of an offer to enter a contract to release claims

against non-debtors. See RESTATEMENT (SECOND) OF CONTRACTS § 69 cmt. a (1981).

       60.     As an initial matter, merely voting to approve a plan is not an expression of consent

to a non-debtor release. See, e.g., In re Congoleum Corp., 362 B.R. 167, 194 (Bankr. D.N.J. 2007)

(“[A] consensual release cannot be based solely on a vote in favor of a plan.”); In re Arrowmill

Dev. Corp., 211 B.R. 497, 507 (Bankr. D.N.J. 1997) (reaching same conclusion). As explained in

Arrowmill, a voluntary release arises only “because the creditor agrees” to it. 211 B.R. at 507

(emphasis in original). There is nothing in the Code that authorizes treating a vote to accept a

chapter 11 plan as consent to a third-party release. Instead, the “validity of th[at] release”

necessarily “hinges upon principles of straight contract law or quasi-contract law rather than upon

the bankruptcy court’s confirmation order.” Id. (citation and alterations omitted). Because “a

creditor’s approval of the plan cannot be deemed an act of assent having significance beyond the

confines of the bankruptcy proceedings,” “it is not enough for a creditor . . . to simply vote ‘yes’

as to a plan” in order to destroy its rights under nonbankruptcy law. Id. (quotation marks omitted);

accord Congoleum Corp., 362 B.R. at 194; In re Digital Impact, Inc., 223 B.R. 1, 14 (Bankr. N.D.

Okla. 1998). Rather, a creditor must “unambiguously manifest[] assent to the release of the

nondebtor from liability on its debt.” Arrowmill, 211 B.R. at 507.

       61.     Because merely voting to approve a plan does not manifest consent to a non-debtor

release, such a vote plus a failure to opt out is still nothing more than silence with respect to the

offer to release claims against non-debtors. Voting to accept a plan but remaining silent about a

non-debtor release by failing to check an opt-out box does not fit within any of the exceptions to

the rule that silence is not acceptance of an offer.



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       62.     Creditors who vote for a plan without opting out of a non-debtor release are not

“silently tak[ing] offered benefits” from the released non-debtors, such that consent may be

inferred. RESTATEMENT (SECOND) OF CONTRACTS § 69 cmt. a (1981). The only benefits

received by the creditors are distributions from the debtor’s chapter 11 plan. Thus, “[e]ssentially,

creditors are being asked to give releases to third parties for no consideration.” Tonawanda Coke

Corp., 662 B.R. at 222. Because creditors are entitled to whatever distributions the Plan allocates

them regardless of whether they opt out of the non-debtor releases, consent to the non-debtor

release cannot be inferred from mere acceptance of the benefits of the debtor’s plan. See Norcia,

845 F.3d at 1286 (explaining that customer’s failure to opt out did not imply his consent where

warranty applied regardless, meaning that customer did not thereby obtain any additional benefit).

Further, non-debtors have no right to prevent a debtor’s creditors from receiving distributions

under the debtor’s chapter 11 plan, and thus acceptance of those distributions does not manifest

acceptance of an offer to release non-debtors. See Railroad Mgmt. Co., L.L.C. v. CFS La.

Midstream Co., 428 F.3d 214, 223 (5th Cir. 2005) (“In the absence of any evidence that Strong

had the right to exclude CFS from the property in question or that CFS accepted any service or

thing of value from Strong, no reasonable jury could conclude that CFS’s failure to remove its

pipeline upon Strong’s demand constituted consent to a contract.”).

       63.     Nor does voting to approve a chapter 11 plan while remaining silent about a non-

debtor release “manifest [an] intention that silence may operate as acceptance” of an offer to

release claims against non-debtors. RESTATEMENT (SECOND) OF CONTRACTS § 69 cmt. a.

Because impaired creditors have a federal right under the Bankruptcy Code to vote on a chapter

11 plan, 11 U.S.C. § 1126(a), merely exercising that right does not manifest consent to release

claims against non-debtors. Rather, voting on a chapter 11 plan is governed by the Bankruptcy



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Code, and a favorable vote reflects only approval of the plan’s treatment of the voters’ claims

against the debtor.

       64.     And as in Norcia, creditors have no state law duty to respond to an offer to release

non-debtors such that their silence can be understood as consent, nor have they any prior course

of dealing with the released non-debtors that would impose such a duty. See Norcia, 845 F.3d at

1285-86. Nor do creditors have any affirmative obligation to act on a plan, either to vote or to opt

out. See, e.g., 11 U.S.C. § 1126(a) (providing that creditors “may” vote on a plan); SunEdison,

Inc., 576 B.R. at 460–61 (recognizing that creditors have no duty to speak regarding a plan that

would allow a court to infer consent to third-party releases from silence). A claimant’s vote in

favor of a plan while remaining silent regarding a non-debtor release thus does not fit within the

exception to the general rule that consent cannot be inferred from silence.

       65.     Further, imputing consent from a vote in favor of a plan assumes that the creditor

understands that the ballot includes a non-debtor release and understands its terms, but that

assumption lacks evidentiary support. Here, the Ballots do not provide a full definition of all the

parties to whom a creditor would be giving a release. “[A]n offeree, regardless of apparent

manifestation of his consent, is not bound by inconspicuous contractual provisions of which he

was unaware, contained in a document whose contractual nature is not obvious.” Norcia, 845 F.3d

at 1285 (quotation marks omitted); Noble v. Samsung Elec. Am., Inc., 682 F. App’x 113, 117-118

(3d Cir. 2017) (reaffirming that a person cannot be presumed to have agreed to contractual

provisions unless “there is a reasonable basis to conclude that consumers will have understood the

document contained a bilateral agreement”). Hence, voting for a plan does not reflect actual and

knowing consent, particularly in the context of “an immensely complicated plan” where “it would




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be difficult for any layperson to comprehend all of its details.” In re Congoleum Corp., 362 B.R.

at 194.

          vi.     Voting to Reject a Plan Without Opting Out Is Not Consent to Release Non-
                  Debtors
          66.     Second, for the same reasons, releases cannot be imposed on those who vote to

reject the plan but do not opt out. It is implausible to suggest that a party returning a ballot rejecting

the plan but neglecting to opt out of the third-party release is evidencing consent to the third-party

release. Not only is there no “mutual agreement” as to the Plan, much less the Third-Party Release,

the creditor has expressly stated its rejection of the Plan. As the court in Chassix Holdings, Inc.

reasoned, “a creditor who votes to reject a plan should also be presumed to have rejected the

proposed third-party releases that are set forth in the plan. The additional ‘opt out’ requirement,

in the context of this case, would have been little more than a Court-endorsed trap for the

careless or inattentive creditor.” 533 B.R. 64, 79 (Bankr. S.D.N.Y. 2015) (emphasis added).

          67.     Whether or not a creditor votes to accept or reject the Plan, such creditors may not

have understood the solicitation package and may not have possessed the time or financial

resources to engage counsel, never imagining that their rights against non-debtors could be

extinguished through the bankruptcy of these Debtors. “[A]n offeree, regardless of apparent

manifestation of his consent, is not bound by inconspicuous contractual provisions of which he

was unaware, contained in a document whose contractual nature is not obvious.” Norcia, 845 F.3d

at 1285 (quotation marks omitted).

          vii.    Smallhold’s Conclusion that Voting Plus a Failure to Opt Out Equals
                  Consent to a Non-Debtor Release Is Incorrect
          68.     The U.S. Trustee recognizes that Judge Goldblatt in Smallhold found that, in at least

some circumstances, the act of voting on a debtor’s plan (whether to accept or reject it) combined

with a failure to exercise an opt-out option can constitute consent to a non-debtor release. See

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Smallhold, 2024 WL 4296938, at *14. The Smallhold decision, however, although stating it was

applying “ordinary contract principles,” 2024 WL 4296938, at *3, failed to faithfully apply those

principles to the question of when silence can constitute consent. For the reasons discussed above,

contract principles do not support imputing consent for a third-party release based merely upon a

creditor’s neglect to exercise an opt-out option and that remains true even when that option is

conspicuous or well-advertised.

       69.     In Smallhold, Judge Goldblatt reasoned that consent to a non-debtor release could

be understood to exist because the act of voting on a debtor’s plan is an “affirmative step” taken

after being told that failing to opt out would bind the voter to the non-debtor release. Smallhold,

2024 WL 4296938, at *14. But while voting is certainly an “affirmative step” with respect to the

debtor’s plan, it is not a “manifestation of intention that silence may operate as acceptance” of a

third-party release. RESTATEMENT (SECOND) OF CONTRACTS § 69 cmt. a (1981) (emphasis

added). The bankruptcy exists to resolve debtor’s liabilities, not those of third parties. And

because, as noted above, supra ¶¶ 37-45, creditors have no affirmative obligation to act even as to

the Debtors’ plan, they certainly can have no duty to respond to an offer to release non-debtors of

liabilities that exist outside the bankruptcy case entirely. Further, because impaired creditors have

a federal right under the Bankruptcy Code to vote on a chapter 11 plan, 11 U.S.C. § 1126(a),

merely exercising that right does not manifest consent to release claims against non-debtors. Thus,

the act of voting on a plan without taking an additional step to opt out is still merely silence with

respect to the non-debtor release.

       70.     As explained by the Restatement, “[t]he mere receipt of an unsolicited offer does

not impair the offeree’s freedom of action or inaction”—in this case, the freedom to vote on a

chapter 11 plan—“or impose on him any duty to speak,” such as by checking an opt out box or



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returning an opt out form. RESTATEMENT (SECOND) OF CONTRACTS § 69 cmt. a (1981).

Voting on a plan while failing to opt out thus cannot be equated with affirmative conduct

manifesting consent to the non-debtor release. Just like the hypothetical creditors in Smallhold

could not be forced to contribute $100 to a college fund to benefit the debtor’s CEO’s children

merely because they failed to return a ballot with an “opt out” box, Smallhold, 2024 WL 4296938,

at *2, creditors who cast such a ballot should not be forced to make such a contribution merely

because they failed to check that “opt out” box. State law affords no basis to conclude that consent

to release third-party claims (which are governed by nonbankruptcy law) can properly be inferred

from a party’s mere failure to check an opt-out box on a ballot expressing views about the proposed

treatment of a creditor’s claims against the debtor (governed by bankruptcy law). See supra ¶¶

37-45. As a result, the “general proposition” that Smallhold recognized continues to apply:

“creditors must affirmatively express consent to the release in order to be bound by it.” Id. at *8

(emphasis added); accord at *10 (“[I]t is no longer appropriate to require creditors to object or else

be subject to (or be deemed to ‘consent’ to) such a third-party release.”).

       71.     Notably, the Ninth and Second Circuit cases cited by Smallhold do not support its

conclusion that the act of voting on a chapter 11 plan while remaining silent regarding the non-

debtor release constitutes consent. Smallhold, 2024 WL 4296938, at *14 n.60 (citing Berman v.

Freedom Fin. Network, 30 F.4th 849, 856 (9th Cir. 2022); Meyer v. Uber Techs., Inc., 868 F.3d

66, 75 (2d Cir. 2017)). Those cases emphasize the importance of notice as one prerequisite to

consent, recognizing that “an offeree, regardless of apparent manifestation of his consent, is not

bound by inconspicuous contractual provisions of which he is unaware, contained in a document

whose contractual nature is not obvious.” Meyer, 868 F.3d at 74 (internal quotation marks omitted;

emphasis added). Those cases thus concern the requirements for when someone can be deemed



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on “inquiry notice” of terms they did not read. See Berman, 30 F.4th at 856; Meyer, 868 F.3d at

75. But while notice of a contractual term is certainly a necessary precondition to finding consent,

notice is not alone sufficient. See, e.g., Meyer, 868 F.3d at 74; Norcia, 845 F.3d at 1284;

RESTATEMENT (SECOND) OF CONTRACTS § 69 cmt. a (1981). Whether there has been

sufficient notice of an offer is a distinct question from whether there has been a manifestation of

an intent to accept that offer, particularly where the offer—i.e., the proposed third-party release—

amounts to a side agreement governed by nonbankruptcy law and benefiting distinct parties. As

explained above, for that side agreement to be valid, there must also be a manifestation of consent

to that agreement. See, e.g., Berman, 30 F.4th at 85; Norcia, 845 F.3d at 1284; RESTATEMENT

(SECOND) OF CONTRACTS § 69 cmt. a (1981).

       viii.    Not Voting and Not Opting Out—or Not Objecting—Is Not Consent to
                Release Non-Debtors
       72.      Third, the Plan impermissibly imposes non-consensual third-party releases on those

who do not vote on the plan, including (i) those who are eligible to vote but abstain and (ii) those

who are not eligible to vote because they are deemed to have accepted the plan. Those eligible or

ineligible to vote but deemed to accept are apparently bound to the Third-Party Release unless they

return the opt out form or object. As numerous courts in this district have held, third-partyreleases

cannot be imposed on those who do not vote and do not opt out. See Smallhold, 2024 WL 4296938,

at *2; SunEdison, 576 B.R. at 458–61; Chassix Holdings, 533 B.R. at 81–82; In re Wash. Mut.,

Inc., 442 B.R. 314, 355 (Bankr. D. Del. 2011). This applies equally to those creditors who simply

abstain from voting and those creditors who are not entitled to vote on a plan. Those who abstain

from voting cannot be said to be consenting to anything—they are taking no action with respect to

the plan. The same is true for those who have no right to vote on a plan, such as the unimpaired

creditors here who will be deemed to consent to releases unless they file an objection to them.


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Creditors who do not vote on a plan do not manifest consent to a non-debtor release by failing to

return an opt out form or failing to object to confirmation.

          73.     Even where there are conspicuous warnings in the ballots or an opt-out form that

silence or inaction will constitute consent to a release, that is not sufficient to recast a party’s

silence as consent to the release. SunEdison, 576 B.R. at 458–61. Just as creditors have no federal

or state law duty to vote on a plan, they also have no obligation to read a plan. 4 And creditors who

have no intention of voting in the first place are unlikely to do so. Moreover, parties who are

solicited but do not vote may have failed to vote for reasons other than an intention to assent to the

releases. SunEdison, 576 B.R. at 461. This is especially the case where, as here, the three classes

of creditors are bound despite their silence unless they take specific, but different, actions: creditors

who vote must select the opt out box on the ballot; creditors who can vote but do not can opt out

either through returning the ballot with the opt out box checked or by objecting to confirmation;

and creditors who are not entitled to vote must object to confirmation. This creates unnecessary

confusion and further demonstrates that the opt out process is a trap for the unwary.

          74.     Thus, the court in SunEdison rejected the debtors’ argument that the warning in the

disclosure statement and on the ballots regarding the potential effect of silence gave rise to a duty

to speak, and the non-voting creditors’ failure to object to or reject the Combined Plan should be

deemed their consent to the release. Id. at 460–61. The court found that the nonvoting creditors’

silence was not misleading and did not signify their intention to consent to the release (finding that

silence could easily be attributable to other causes). Id. at 460-61.

          75.     Simply put, as Judge Walrath has explained, “[f]ailing to return a ballot is not a

sufficient manifestation of consent to a third-party release.” Washington Mut., 442 B.R. at 355;



4
    Here, the Plan and associated materials will run to at least 100 pages.
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see also Chassix Holdings, 533 B.R. at 81–82. An “opt out mechanism is not sufficient to support

the third-party releases . . . particularly with respect to parties who do not return a ballot (or are

not entitled to vote in the first place).” Washington Mut., 442 B.R. at 355.

       76.     “Charging all inactive creditors with full knowledge of the scope and implications

of the proposed third-party releases, and implying a ‘consent’ to the third-party releases based on

the creditors’ inaction, is simply not realistic or fair and would stretch the meaning of ‘consent’

beyond the breaking point.” Chassix Holdings, 533 B.R. at 81. “It is reasonable to require

creditors to pay attention to what the debtor is doing in bankruptcy as it relates to the creditor’s

rights against the debtor. But as to the creditor’s rights against third parties – which belong to the

creditor and not the bankruptcy estate – a creditor should not expect that those rights are even

subject to being given away through the debtor’s bankruptcy.” Smallhold, Inc., 2024 WL 4296938,

at *12; see also id. at *10 (discussing Chassix). As Judge Owens similarly explained in Emerge

Energy Services, LP, “[a] party’s receipt of a notice imposing an artificial opt-out requirement, the

recipient’s possible understanding of the meaning and ramifications of such notice, and the

recipient’s failure to opt-out simply do not qualify” as implied consent through a party’s silence

or inaction. No. 19-11563, 2019 WL 7634308, at *18 (Bankr. D. Del. Dec. 5, 2019) (emphasis in

original). “[B]asic contract principles” require affirmative assent, not inferences drawn from

inaction that in fact may reflect only “[c]arelessness, inattentiveness, or mistake.” Id.

       ix.     There Was Insufficient Notice of the Non-Debtor Releases for There to Be
               Consent
       77.     There is no acceptance of an offer when there is insufficient notice of the alleged

contractual terms.    See Norcia, 845 F.3d at 1285 (“[A]n offeree, regardless of apparent

manifestation of his consent, is not bound by inconspicuous contractual provisions of which he

was unaware, contained in a document whose contractual nature is not obvious.”) (quotation marks


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omitted). There is no way any creditor, no matter how sophisticated—even if it reviews every

single document the Debtors provide or put on a website—can identify all the Related Parties who

are included as Released Parties and thus, there can be no consent from any creditor to release

those parties.

       78.       Furthermore, as noted above, failure to return the opt-out election form is not

consent to the Third-Party Releases because—whether they are asked to vote or not—claimants

have no reason to expect that an offer to contract with non-debtors will be included in the plan

solicitation. As the Third Circuit has explained, there can be no presumption that someone has

agreed to contractual provisions of which they are “on notice,” unless “there is a reasonable basis

to conclude that consumers will have understood the document contained a bilateral agreement.”

See Noble v. Samsung Elec. Am., Inc., 682 F. App’x 113, 117-118 (3d Cir. 2017). See also Norcia,

845 F.3d at 1289 (“[N]o contract is formed when the writing does not appear to be a contract and

the terms are not called to the attention of the recipient.”) (quotation marks omitted).

       x.        Rule 23’s Opt-Out Rule Is Legally Irrelevant Because Congress
                 Has Not Included Anything Like That in the Bankruptcy Code

       79.       In Smallhold, Judge Goldblatt raised the issue of whether opt outs could constitute

consent because, under Federal Rule of Civil Procedure 23, a court-approved class action

settlement may bind class members who do not opt out of the class action. See Smallhold, Inc.,

2024 WL 4296938, at *15. That analogy to class-action procedure is inapt. Rule 23, incorporated

by Bankruptcy Rule 7023 only for adversary proceedings, is irrelevant. This is not an adversary

proceeding to which Bankruptcy Rule 7023 applies and no one has sought class treatment here.

Fed. R. Bankr. P. 7023. Thus, by their own terms, neither Rule 23 nor Bankruptcy Rule 7023

applies.




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        80.     And Congress has not seen fit to enact a Code provision authorizing imposing non-

debtor releases in chapter 11 plans on those who fail to opt out. Importantly, “people who fail to

respond to class action notices are bound because that is the legal consequence that the Rule

specifies, and not on the theory that their inaction is the equivalent of an affirmative joinder in an

action.” In re Chassix Holdings, Inc., 533 B.R. 64, 78 (Bankr. S.D.N.Y. 2015). By contrast, in the

context of non-debtor releases imposed via a chapter 11 plan, “[t]here is no rule that specifies an

‘opt out’ mechanism or a ‘deemed consent’ mechanism.” Id. Absent a duly enacted statute or

federal rule of procedure, a court cannot unilaterally transplant Rule 23(b)(3)’s class-action “opt

out” procedure to bankruptcy proceedings to confirm a chapter 11 plan.

        81.     Further, a rule of procedure, including Bankruptcy Rule 7023, cannot modify or

abridge state law regarding what constitutes consent to a release. 28 U.S.C. § 2075. That follows

from the fact that no provision in the Code authorizes treatment of creditors’ claims against non-

debtors as a class action. There is no federal class action statute that preempts state contract law,

which (as discussed above) requires affirmative consent.

        82.     Indeed, as the court found in Patterson, “the comparison to class action litigation

highlights the impropriety of finding releases consensual based merely on a failure to opt out”

because in class actions, unlike chapter 11 plan confirmations, “courts must ensure that the class

action complies with the unique requirements of Rule 23 of the Federal Rules of Civil Procedure.” 5

636 B.R. at 686.




5
 Further, “in the class action context there is a public policy that favors the consolidation of similar cases
and that justifies the imposition of a rule that binds class members who have not affirmatively opted out.”
In re Chassix Holdings, Inc., 533 B.R. 64, 78 (Bankr. S.D.N.Y. 2015). By contrast, in the context of non-
debtor releases imposed via a chapter 11 plan, there is no “general ‘public policy’ in favor of making third
party releases applicable to as many creditors as possible.” Id.
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       83.     Federal class actions may proceed only after a court certifies that the class meets a

series of rigorous procedural requirements designed to ensure the appropriateness and fairness of

class-wide litigation. For any class to be certified, Rule 23(a) requires a court to find: (1)

commonality (“questions of law or fact common to the class”); (2) typicality (named parties’

claims or defenses “are typical . . . of the class”); and (3) adequacy of representation

(representatives “will fairly and adequately protect the interests of the class”). Amchem Prod., Inc.

v. Windsor, 521 U.S. 591, 613 (1997) (quoting Fed. R. Civ. P. 23); see id. at 621 (noting that these

standards protect against the variability of equitable justice).

       84.     Once those threshold showings are made, Rule 23(b) then requires that one of three

further predicates satisfied. Speaking generally, Rule 23(b)(1) authorizes class treatment where

“individual adjudications would be impossible or unworkable,” while Rule 23(b)(2) authorizes

class actions where “the relief sought must perforce affect the entire class at once.” Wal-Mart

Stores, Inc. v. Dukes, 564 U.S. 338, 362 (2011). Rule 23(b)(3), in turn, authorizes class treatment

only where a court finds both that “the questions of law or fact common to class members

predominate over any questions affecting only individual members” and “that a class action is

superior to other available methods for fairly and efficiently adjudicating the controversy.” Fed.

R. Civ. P. 23(b)(3). Opt-out procedures are only available in class actions under Rule 23(b)(3)—

and not those under Rule 23(b)(1) and 23(b)(2). See Wal-Mart Stores, 564 U.S. at 362 (explaining

that “unlike (b)(1) and (b)(2) classes, the (b)(3) class is not mandatory”).)

       85.     Class action procedures also entail additional procedural safeguards. A class must

be specifically defined to identify the class members and the class claims. Fed. R. Civ. P.

23(c)(1)(B). Moreover, the court must appoint class counsel that can best “represent the interests

of the class.” Fed. R. Civ. P. 23(g). And for classes certified under Rule 23(b)(3), class members



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must receive “the best notice practicable” that must “clearly and concisely state in plain, easily

understood language:” the nature of the action, who the class is, what their claims or defenses are;

their right to appear in the action through an attorney; their right to exclude themselves from the

action; how and when to exclude themselves; and the binding nature of the judgment if they do

not. In other words, the Federal Rules of Civil Procedure set objective procedural protections

before a class can be certified and potential members bound.

        86.     Further, “any class settlement that would bind absent class members requires court

approval.” Patterson, 636 B.R. at 686 (citing Fed. R. Civ. P. 23(e)). And approval may only be

granted if, after a hearing, the court finds the settlement is “‘fair, reasonable, and adequate’ taking

into account whether ‘(A) the class representatives and class counsel have adequately represented

the class; (B) the proposal was negotiated at arm’s length; (C) the relief provided for the class is

adequate; and (D) the proposal treats class members equitably relative to each other.’” Id. at 687

(quoting Fed. R. Civ. P. 23(e)(2)). “The inquiry appropriate under Rule 23(e) . . . protects unnamed

class members from unjust or unfair settlements affecting their rights.” Amchem Prod., Inc. v.

Windsor, 521 U.S. 591, 623 (1997).

        87.     “None of these protections exist in the context of a non-debtor release in a

bankruptcy action.” Patterson, 636 B.R. at 686. “[N]o party litigates on behalf of the absent

releasing party.” Id.; see also In re Smallhold, Inc., No. 14-10267, 2024 WL 4296938, at *12 n.53

(Sept. 25, 2024) (“[I]n the class action context, a class is only certified after a court makes a factual

finding that the named representative is an appropriate representative of the unnamed class

members. In the plan context, there is no named plaintiff, found by the court to be an adequate

representative, whose actions may presumptively bind others.”). And “[n]o party with a typical

claim has a duty to ensure that he fairly and adequately represents the best interests of the absent



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releasing party.” Patterson, 636 B.R. at 686. “Moreover, the absent releasing party does not enjoy

counsel that will represent his best interests in his stead.” 6 Id.

        88.     Finally, in a class action, members that fail to opt out have claims litigated on their

behalf, and they may receive whatever proceeds are won in that litigation. Under a chapter 11 plan

with non-debtor releases, although the releasing creditors may receive a distribution under the plan

for their claims against a debtor, they lose their claims against the released non-debtors and any

corresponding compensation forever if they fail to take affirmative action to opt out or object.

Indeed, if a mere failure to opt out constitutes consent to a non-debtor release in bankruptcy, “then

no court carries an obligation to ensure the fairness, reasonableness and adequacy of the relief

afforded the absent releasing parties.” Patterson, 636 B.R. at 687.

        89.     Notably, state law also provides class-action procedures, with similar procedural

protections to federal class actions, in which unnamed class members are bound by a court-

approved class settlement unless they opt out. See, e.g., Del. Super. Ct. R. Civ. P. 23. But outside

of that class-action context, ordinary contract principles apply as discussed above, and a person

cannot force a contract on someone else by deeming silence, such as a failure to “opt out,” to be

consent, except in narrow circumstances inapplicable here. ¶¶ 37-45, supra.

        90.     In sum, there will be no affirmative consent to Third-Party Releases given by the

numerous persons and entities on whom such releases will be imposed. Such releases are therefore

non-consensual.

        B.      The Plan Cannot Be Confirmed Because There Is No Authority for the
                Injunction Against Bringing Claims Against Non-Debtors.

6
  Although the official committee of unsecured creditors owes a fiduciary duty to the creditor body as a
whole, it does not owe a duty to any individual creditor or any specific group of creditors, and the diverse
body of creditors to whom it owes duties often has conflicting interests. See In re Drexel Burnham Lambert
Grp., Inc., 138 B.R. 717, 722 (Bankr. S.D.N.Y. 1992) (fiduciary duty of individual members of an official
committee “extends to the class as a whole, not to its individual members”). Further, the committee’s duties
relate only to claims against the debtor, not claims against non-debtors.
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       88.     This Court also may not approve the injunction enforcing the release by barring

claims against non-debtors. Purdue clearly stands for the proposition that non-consensual third-

party releases and injunctions are generally not permitted by the Bankruptcy Code. See Purdue

Pharma L.P., 144 S. Ct. at 2088. As the Purdue court noted, the Bankruptcy Code allows courts

to issue an injunction in support of a non-consensual, third-party release in exactly one context:

asbestos-related bankruptcies, and these cases are not asbestos-related. See id. at 2085 (citing 11

U.S.C. § 524(e)).

       89.     Even if non-debtor releases are consensual, there is no Code provision that

authorizes chapter 11 plans or confirmation orders to include injunctions to enforce them. Further,

such an injunction is not warranted by the traditional factors that support injunctive relief. Parties

seeking an injunction “must demonstrate: (1) that it has suffered an irreparable injury; (2) that

remedies available at law, such as monetary damages, are inadequate to compensate for that injury;

(3) that, considering the balance of hardships between the plaintiff and defendant, a remedy in

equity is warranted; and (4) that the public interest would not be disserved by a permanent

injunction.” eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006); see also Purdue

Pharma, 144 S. Ct. at 2085 (noting that an injunction is an “extraordinary remedy”); Weinberger

v. Romero-Barcelo, 456 U.S. 305, 312 (1982) (“An injunction should issue only where the

intervention of a court of equity ‘is essential in order effectually to protect property rights against

injuries otherwise irremediable.’”) (quoting Cavanaugh v. Looney, 248 U.S. 453, 456 (1919));

Fechter v. HMW Indus., Inc., 879 F.2d 1111, 1119 (3d Cir. 1989) (“We have long followed the

principle that equitable remedies are available once legal remedies are found to be inadequate.”)

(citing Weinberger).




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        90.     The Debtors have made no attempt to show that any of these factors are met. Nor

could they. If the release is truly consensual, there is no threatened litigation and no need for an

injunction to prevent irreparable harm to either the estates or the released parties. A consensual

release may serve as an affirmative defense in any ensuing, post-effective date litigation between

the third party releasees and releasors, but there is no reason for this Court to be involved with the

post-effective date enforcement of those releases. Moreover, this injunction essentially precludes

any party deemed to consent to this release from raising any issue with respect to the effectiveness

or enforceability of the release (such as mistake or lack of capacity) under applicable non-

bankruptcy law.

        91.     Similarly, there is no statutory authority in the Bankruptcy Code that justifies an

injunction to enforce an exculpation, and the Debtors have shown no need for an injunction to

prevent “irreparable harm” to either the estates or the released parties.

        C. The Plan is Impermissibly Deemed to Be a Settlement.

        92.     Section 1123(b)(3)(A) of the Bankruptcy Code allows a plan proponent to “provide

for [] the settlement or adjustment of any claim or interest belonging to the debtor or to the estate.”

11 U.S.C. § 1123(b)(3)(A) (emphasis added).

        93.     Section 1123(b)(3) only allows a debtor to settle claims it has against others; it does

not allow a debtor to settle claims that creditors and interest holders may have against it, which is

what Plan § 6.9 seeks to do. See Varela v. Dynamic Brokers, Inc. (In re Dynamic Brokers, Inc.),

293 B.R. 489, 496 (B.A.P. 9th Cir. 2003) (“The only reference in [section 1123(b)] to adjustments

of claims is the authorization for a plan to provide for ‘the settlement or adjustment of any claim

or interest belonging to the debtor or to the estate.’ . . . It is significant that there is no parallel




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authorization regarding claims against the estate.”) (quoting section 1123(b)(3)(A)) (internal

citation omitted).

       94.     The resolution of claims against the Debtors is governed by sections 1129 and 1141.

       95.     A plan may incorporate one or more negotiated settlements, but a plan is not itself

a settlement. Sending a plan to impaired creditors for a vote is not equivalent to parties negotiating

a settlement among themselves. A “settlement” is “an agreement ending a dispute or lawsuit.”

BLACK’S LAW DICTIONARY (10th ed. 2014). An “agreement” is “a mutual understanding between

two or more persons about their relative rights and duties regarding past or future performances; a

manifestation of mutual assent by two or more persons.” Id.

       96.     Approval of settlements is governed by Federal Rule of Bankruptcy Procedure

9019, which provides that, “[o]n motion by the trustee [or chapter 11 debtor in possession] and

after notice and a hearing, the court may approve a compromise or settlement.” But, because a

“settlement” requires an agreement between the settling parties, Rule 9019 governs only parties

that have entered into an express settlement agreement; it is not a blanket provision allowing

general “settlements” to be unilaterally imposed upon broad swaths of claimants that have no

formal agreement with any party to “settle” their claims.

       97.     The decision whether to approve a settlement under Rule 9019 is left to the sound

discretion of the bankruptcy court, which “must determine whether ‘the compromise is fair,

reasonable, and in the best interest of the estate.’” Washington Mut., 442 B.R. at 338 (quoting In

re Louise’s, Inc., 211 B.R. 798, 801 (D. Del. 1997)). In contrast, chapter 11 plans are subject to

the requirements of Bankruptcy Code sections 1123 and 1129. What may be permissible under a

negotiated settlement agreement that is considered “fair, reasonable, and in the best interest of the

estate” outside of the plan context is different from what may be permissible under a plan.



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       98.     In Plan Art. VII. Section 7.23, the Debtors attempt to impermissibly designate the

entire Plan as a Rule 9019 “settlement.” Further, it appears Art. VII. Section 7.23. is not limited to

settling claims belonging to the Debtors or the estate. Thus, Art. Art. VII. Section 7.23. exceeds

the scope of what can be settled under section 1123(b)(3)(A). Unless Art. VII. Section 7.23. is

narrowed so that (i) it pertains only to claims the Debtors are settling against others and (ii) the

Plan itself is not a settlement, the Plan does not comply with section 1123(b)(3)(A) and does not

satisfy section 1129(a)(1). Consequently, the settlement and compromise language contained in

Art. VII. Section 7.22. should be removed from the Plan

                                 RESERVATION OF RIGHTS

       99.     The U.S. Trustee leaves the Debtors to their burden of proof and reserves any and

all rights, remedies and obligations to, among other things, complement, supplement, augment,

alter or modify this Objection, assert any objection, file any appropriate motion, or conduct any

and all discovery as may be deemed necessary or as may be required, and to assert such other

grounds as may become apparent upon further factual discovery.




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       WHEREFORE, the U.S. Trustee respectfully requests that the Court enter an order or

orders: (i) denying interim approval of the Disclosure Statement; (ii) denying the Procedures

Motion; and (iii) granting such other and further relief as the Court deems just and equitable.

Dated: January 8, 2025                               Respectfully submitted,

                                                     ANDREW R. VARA
                                                     UNITED STATES TRUSTEE
                                                     REGIONS 3 AND 9

                                              By: /s/ Timothy J. Fox
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                                 CERTIFICATE OF SERVICE

       I, Timothy J. Fox, Jr., hereby certify that on January 8, 2025, I caused to be served a copy

of this Objection by electronic service on the registered parties via the Court’s CM/ECF system

and courtesy copies were sent via email to parties in interest.



Dated: January 8, 2025                            /s/ Timothy J. Fox
                                                  Timothy J. Fox, Jr.




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